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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA STIPULATION IN SUPPORT

OF APPLICATION FOR

7M OR SUBSEQUENT

ORDER OF CONTINUANCE AND
23 ORDER OF CONTINUANCE

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CAMERON MCEWEN,

Defendant. 23 Mag, 3221

The United States of America and the defendant jointly request and agree that the time
period from 1/29/25 to 2/26/25 be excluded from the computation of the period within which an
information or indictment must be filed, pursuant to Title 18, United States Code, Section 3 161(b)
and (h)(7). On April 24, 2023, Mcliwen was charged by complaint with violations of 18 U.S.C.
§§ 2251 (a), (e) and 875(d). That same day, the defendant was presented before Magistrate Judge
Paul E. Davison, and the defendant was detained. The parties submit that there is good cause for

an additional exclusion of time because the parties have been in communication about resolving

this case without need fora trial. On August 6, 2024, defense counsel provided the Government a
mitigation submission. The Government has since made an informal plea offer to the defendant,
and the Government intends to offer a formal plea offer in the near Future.

Ms. Martin has received express permission to sign this stipulation on her client’s behalf.
By the following signatures we agree and consent to the exclusion of time noted above:

aya Reap 29/2025,

Defendant’s Counsel Date Assistant U.S. Attorney Date
Rachel Martin, Esq. Kathryn Wheelock

The defendant states that he has been fully advised by counsel of his rights guaranteed
under (a) of the Sixth Amendment to the Constitution; (b) the Speedy Trial Act of 1974, as set
forth in Title 18, United States Code, Sections 3161-74; and (c) the plans and rules of this Court
adopted pursuant to that Act. The defendant understands that he/she has a right to be charged by
indictment or information, and to have a trial before a judge or jury, within a specified time
(excluding certain time periods) under the Constitution and Rules and Laws of the United States
identified above. Defense counsel has discussed his stipulation with the defendant and has

defendant’s ee bw his behalf.
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Deféndant Date
CAMERON MCEWEN

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The joint application of the United States of America and the defendant having been heard
ata proceeding on the date below, the time period from 1/29/25 to 2/26/25 is hereby excluded in
computing the time within which an indictment or information must be filed. The Court grants this
continuance on the finding that the ends of justice outweigh the interests of the public and the
defendant in a speedy trial, for the reasons set forth above. The Court further orders:

NIA
Dated: i a4 lox SO ORDERED

White Plaihs, New York ke

Hon. Andrew E. Krause
United States Magistrate Judge

